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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
(DALLAS DIVISION)

ROBERT ALLEN BAUTISTA,
Plaintiff,

Vi
CaseNo.: 3:24-cv-3010

CAPITAL ONE FINANCIAL
CORPORATION 878185453,
CAPITAL ONE, NATIONAL
ASSOCIATION 006947543, CAPITAL
ONE SERVICES, LLC 837630326,

Defendants.

Lr LPL? LM LP OM MN Lr MN ML Lr

NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
UNDER 28 U.S.C. §§ 1441(a) AND 1331 (FEDERAL QUESTION)

TO THE CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS (DALLAS DIVISION):

PLEASE TAKE NOTICE that Defendant Capital One, N.A. (erroneously sued herein as
(i) “Capital One Financial Corporation 8781865453,” (11) “Capital One, National Association
006947543,” and (111) “Capital One Services, LLC 837630326” (hereinafter “Capital One”’)),
hereby invokes this Court’s jurisdiction, under the provisions of 28 U.S.C. §§ 1441(a) and 1331,
and removes this action from state court to federal court pursuant to 28 U.S.C. § 1446(b).

I. JURISDICTION

1. Capital One specifically alleges that this Court has federal question jurisdiction
over this action pursuant to 28 U.S.C. §§ 1441(a) and § 1331 because Plaintiff Robert Allen
Bautista (“Plaintiff”) alleges causes of action arising under the Equal Credit Opportunity Act

(15 U.S.C. §§ 1691 et seq.), the Fair Housing Act (42 U.S.C. §§ 3601 ef seq.), the Fair Credit
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Reporting Act (15 U.S.C. §§ 1681 e¢ seg.), FACTA (15 U.S.C. § 1681c), and the Securities

Exchange Act of 1934 (15 U.S.C. §§ 78)(b) e¢ seq.).

II. STATEMENT OF THE CASE

De On October 25, 2024, Plaintiff filed his Complaint (“Complaint”) in the District
Court of Dallas County, Texas, designated as Case No. DC-24-18868 (the “Action”).

3. In the Complaint, Plaintiff alleges that Capital One violated numerous federal
statutes, including the Equal Credit Opportunity Act (15 U.S.C. § 1691), Fair Housing Act (42
U.S.C. § 3601), Fair Credit Reporting Act (15 U.S.C. § 1681), FACTA (15 U.S.C. § 1681c), and

Securities Exchange Act of 1934 (15 U.S.C. § 78)(b). [Exhibit A, Complaint at p. 2.]

Ill. BASIS FOR REMOVAL

4. This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1331 because
Plaintiff alleges that Capital One violated numerous laws of the United States. Thus, the
adjudication of Plaintiff's Complaint requires an analysis and construction of federal law.

5. This Action may be removed to this Court by Capital One pursuant to 28 U.S.C. §§
1441(a) and 1331 because this Court would have had original jurisdiction founded on Plaintiff's
claims arising under the CCPA.

6. Further, pursuant to 28 U.S.C. § 1367(a), the Court has supplemental jurisdiction
over any state law cause of action that Plaintiff may allege in the future because they will inevitably
appear “so related to claims in the action with such original jurisdiction that they form part of the

same case or controversy.”

IV. ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
SATISFIED.

G Removal is timely. 28 U.S.C. §1446(b) provides that a notice of removal must be

“filed within thirty [30] days after receipt by the defendant . . . of a copy of the initial pleading
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setting forth the claim for relief upon which such action or proceeding is based.” 28 U.S.C.
§1446(b). It is well established that the date of “receipt” is interpreted to mean the date by which
formal service is effectuated. Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344, 354 (1999)
(holding that receipt of a pleading by a method of delivery that did not formally effectuate service
did not trigger the removal clock and explaining that “the defendant’s period for removal will be
no less than 30 days from service”). Here, Plaintiff served Capital One with the Summons and
Complaint on November 1, 2024, such that this removal is timely. [see Exhibit 1.]

8. Removal to Proper Court. Venue lies in the United States District Court for the

Northern District of Texas pursuant to 28 U.S.C. §§ 1441(a) because the Action was filed within
this judicial district. 28 U.S.C. § 124(a)(1).

9. Consent to Removal. Capital One is the only named Defendant in this action.

10. Pleadings and Process. Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of
all process, pleadings, and orders received by Capital One in the Action are attached hereto as
Exhibit 1.

11. Notice. Written notice of the filing of this Notice of Removal will be promptly
served upon Plaintiff. Capital One will also promptly file a copy of this Notice with the Clerk of
the District Court of Dallas County, Texas.

WHEREFORE Capital One prays that the Action now pending against it in the District
Court of Stephens County, Oklahoma be removed therefrom to this Court.

Dated: December 2, 2024 Respectfully submitted,

s/David tHerrold

David H. Herrold

Texas Bar No. 24107029

BURKE BOGDANOWICZ PLLC
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Attorneys for Defendant,
CAPITAL ONE, N.A.

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on December 2, 2024, he caused a true and correct
copy of the above and foregoing instrument to be deposited into the U.S. Mails, all postage prepaid
thereon, and e-mailed, addressed to:

Robert Allen Bautista, pro se
P.O. Box 131385

Dallas, TX 75313-1385
E-mail: rbrtbtstl16@gmail.com

s/David Herrold
David H. Herrold

